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 8                                  UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
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11 UNITED STATES OF AMERICA,
                                                            NO. CR. S-10-cr-00423 KJM
12                   Plaintiff,
13           v.                                             TRIAL CONFIRMATION ORDER
14 KENYATTA ELAINE ALLEN,
15                Defendant.
      ________________________________/
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17           The trial in the above-captioned case, scheduled to commence on February 27, 2012, at
18 1:30 p.m., was confirmed at the trial confirmation hearing held on January 23, 2012. In
19 preparation for the upcoming trial, the court hereby ORDERS:
20           I.      TRIAL BRIEFS AND STATEMENT OF THE CASE
21           No later than February 17, 2012, the parties shall file trial briefs and the government shall
22 file a statement of the case with the court. In their trial briefs, the parties shall include a
23 summary of points of law, including reasonably anticipated disputes concerning admissibility of
24 evidence, legal arguments, any other information the parties believe is relevant, and citations of
25 authority in support thereof. In lieu of a statement of the case, the parties may file a joint
26 proposed jury instruction that can be read to the jury in advance of voir dire that explains the
27 nature of the case.
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 1           II.      PROPOSED JURY INSTRUCTIONS
 2           Counsel are informed that the court has prepared a standard set of jury instructions. In
 3 general, they cover all aspects of the trial except those relating to the charges contained in the
 4 charging document. Accordingly, counsel need not prepare instructions concerning matters
 5 within the scope of the prepared instructions. A copy of the prepared instructions has been
 6 provided to the parties at the trial confirmation hearing. Counsel are further directed that their
 7 specific additional proposed jury instructions shall be filed no later than February 17, 2012. As
 8 to any instructions counsel desire to offer, the proposing party shall also submit a sanitized copy
 9 in either WordPerfect (strongly preferred) or Microsoft Word format via email to:
10 kjmorders@caed.uscourts.gov.
11           III.     PROPOSED VOIR DIRE QUESTIONS AND VERDICT FORM
12           The parties may file proposed voir dire questions no later than February 17, 2012. In
13 addition, the government shall file a proposed verdict form. Any proposed voir dire questions
14 and the proposed verdict form shall also be submitted in either WordPerfect (strongly preferred)
15 or Microsoft Word format via email to: kjmorders@caed.uscourts.gov.
16           IV.      MOTIONS IN LIMINE
17           The parties shall file with the court motions in limine, if any, no later than February 6,
18 2012. The parties are required to meet and confer before filing a motion to determine if
19 agreement can be reached or the scope of a motion narrowed before filing. Any motion filed
20 shall contain a plain, concise summary of any reasonably anticipated disputes concerning
21 admissibility of evidence, including but not limited to, live and deposition testimony, physical
22 and demonstrative evidence and the use of special technology at trial, including computer
23 animation, video discs, and other technology. Any opposition briefs to the motions in limine
24 shall be filed no later than February 13, 2012. Unless otherwise noted, the court shall resolve the
25 motions in limine on February 21, 2012, at 8:30 a.m.
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 1          V.      EXHIBIT LIST AND WITNESS LIST
 2          The government shall, and the defendant may, file exhibit and witness lists no later than
 3 February 17, 2012. Exhibit lists shall also be submitted in either WordPerfect (strongly
 4 preferred) or Microsoft Word format via email to: kjmorders@caed.uscourts.gov.
 5          All exhibits should be pre-marked with exhibit stickers provided by the court. The
 6 government’s exhibits shall be numbered. Should the defendant elect to introduce exhibits at
 7 trial, such exhibits shall be designated by alphabetical letter. The parties may obtain exhibit
 8 stickers by contacting the clerk’s office at (916) 930-4000.
 9          VI. MISCELLANEOUS
10          Counsel also is referred to the additional information available at the court’s on-line
11 calendar page, by accessing the link titled “ More Calendaring Information.”
12 DATED: January 24, 2012.
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14                                                       UNITED STATES DISTRICT JUDGE
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